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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

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                                                                      Case No. 25-cv-2563
BRIAN MORLEY,
                                                                      COMPLAINT
                                                        Plaintiff,
                                                                      JURY TRIAL DEMANDED
                                v.

JOHN OLIVER and PARTIALLY IMPORTANT
PRODUCTIONS, LLC,

                                                    Defendants.

-------------------------------------------------------------------

        Plaintiff Dr. Brian Morley (“Dr. Morley”), by and through his undersigned counsel, for his

Complaint against defendants John Oliver and Partially Important Productions, LLC (collectively,

“Defendants”), respectfully alleges as follows:

                                              INTRODUCTION

        1.       Defendants falsely told millions of viewers of their show, Last Week Tonight With

John Oliver, that Dr. Morley testified in a Medicaid hearing that “he thinks it’s okay if people have

shit on them for days,” intentionally leading viewers to believe that Dr. Morley made these alleged

statements about—and illegally denied Medicaid services to—a young man who has severe mental

impairment, was harnessed in a wheelchair, wears diapers, and required in-home bathing and

diaper changing because he could do neither himself. Defendants’ false accusations were designed

to spark outrage, and they did. The false accusations Defendants made were so heinous that John

Oliver felt justified in telling his millions of viewers: “fuck that doctor with a rusty canoe. I hope

he gets tetanus of the balls.” Oliver’s feigned outrage at Dr. Morley was fabricated for ratings and

profits at the expense of Dr. Morley’s reputation and personal well-being.



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         2.    Defendants expressly asserted that they were not taking Dr. Morley’s testimony out

of context, knowing they had intentionally manipulated the context and their broadcast to convey

a defamatory meaning that they knew was untrue. According to both the broadcast itself and

records provided by Defendants’ counsel, Defendants possessed and reviewed “the full hearing”

in which Dr. Morley testified; and thus, Defendants knew what his testimony was, knew the patient

about whom he was testifying, knew that that patient was not the young man they depicted, and

knew that Dr. Morley’s testimony stood for the opposite of the defamatory meanings they ascribed

to it.

         3.    In doing so, Defendants made Dr. Morley out to be the face of an asserted “nearly

900% increase in [Medicaid] members being illegally denied services or care” by “prioritizing cost

cutting over patients,” when they also knew and failed to disclose that Dr. Morley approved care

in the unrelated proceeding from which they snipped his testimony and that the administrative law

judge and Department of Human Services presiding over that proceeding affirmed his opinion on

medical necessity with respect to the partial denial of services.

         4.    Moreover, the very “audit” report on which Defendants based the assertion of an

“891% increase in members being illegally denied services or care” defined Dr. Morley’s opinion

on medical necessity as inherently “legal.” It specifically referred to “appeals where the judge

agreed with the reduction and/or denial of services [as] ruling it legal” and also stated “[s]eeing a

denial affirmed is always a good result, because it means a legally correct decision was made”

while “seeing a denial overturned is always a bad result, because it means a legally incorrect

decision was made”. In the proceeding subject of Dr. Morley’s testimony, both the approval and

denial of services were affirmed on appeal and the partial denial was—by the letter of the audit

report on which Defendants relied—a legal rather than illegal denial of services or care.



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       5.      There is no doubt as to the defamatory meanings Defendants conveyed, which were

made possible only by the extent to which Defendants consciously manipulated the context of their

broadcast, Dr. Morley’s testimony, and the outcome of the administrative proceeding itself. Their

viewers have spoken. Defendants’ viewers have made, as examples, the following comments on

Defendants’ YouTube page, where the episode at issue has garnered approximately 3.5 million

views, as follows:




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       6.      Dr. Morley did not equate wiping poorly with leaving anyone sitting in their own

feces for days—whether disabled, incontinent, wearing diapers or not. He testified to the opposite.

He testified that people who, for instance, are immobile, laying in their own bowel movements,

cannot toilet transfer, or cannot bathe themselves—in other words, people like the individual

Defendants depicted—require significant in-home care, including “to have someone wiping them

and getting the feces off” to ensure “medical safety.”

       7.      It was Defendants who knowingly and falsely conveyed that Dr. Morley testified

that “it is okay” to leave someone who is incontinent, wears diapers, or otherwise sits in their own

bowel movements in their “shit for days.”

       8.      And they could only accomplish that defamation by (a) use of an ellipsis in the sole

quote of Dr. Morley that they utilized, (b) ignoring both the sentence of Dr. Morley’s testimony

immediately preceding the quote and otherwise ignoring the totality of his testimony, (c) expressly

tying his testimony to the “illegal” denial of Medicaid services by use of an audit report that itself

defined Dr. Morley’s decision to be “legal,” and (d) expressly tying his testimony to video of an

individual who was in all material respects dissimilar to the altogether different individual about

whom Dr. Morley was testifying.

       9.      For these reasons and those that follow, Dr. Morley brings this is action for

defamation against Defendants for their knowing and malicious false accusations against Morley.

                          PARTIES, JURISDICTION, AND VENUE

       10.     Plaintiff Dr. Morley is a resident and citizen of the state of Pennsylvania.

       11.     Dr. Morley is a board certified physician, having served in the United States Army

as a field surgeon and practiced family medicine prior to taking on the role of medical director for



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a Managed Care Organization (“MCO”) operating in Iowa. He is now and was at the time of

Defendants’ accusations an administrator for a hospital serving as a Physician Advisor where, like

his role as medical director, he reviews patient needs to determine the appropriate level of care.

       12.     On information and belief, Defendants research, write, edit, produce, and air the

television broadcast Last Week Tonight With John Oliver (“Last Week Tonight”), filmed and

broadcast from New York and this District specifically.

       13.     Last Week Tonight is broadcast via Max, a digital platform of Home Box Office,

Inc., and is otherwise published on various international platforms and via Last Week Tonight’s

YouTube page.

       14.     Known for hard hitting journalism while also garnering laughs, Last Week Tonight

has received more than 60 Emmy Nominations with 30 wins. The weekly broadcast reportedly

reaches more than 4 million viewers per episode, and the episode at issue here has approximately

3.5 million views on the show’s YouTube page alone. Defendants proclaim that their broadcast is

“meticulously researched.”

       15.     Defendant John Oliver is a writer, the host, and executive producer of Last Week

Tonight. Upon information and belief, Defendant Oliver is a resident and citizen of New York.

       16.     According to correspondence from Defendants’ counsel, Defendant Partially

Important Productions, LLC (“Partially Important”) produces Last Week Tonight.

       17.     According to the United States Copyright Office, Defendant Partially Important

claimed authorship of the entire episode at issue.

       18.     Defendant Partially Important is a Delaware limited liability company registered to

do business in New York.




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       19.        On information and belief, including a previously filed sworn statement by the CEO

of Non-Party Avalon Television, Inc. in an unrelated matter, Defendant Partially Important’s sole

member is Avalon Television, Inc.

       20.        Avalon Television, Inc. is a California corporation with its principal place of

business in Beverly Hills, California and, upon information and belief, Avalon Television, Inc.

additionally maintains offices at 104 West 27th Street, 5th Floor, New York, New York 10001.

       21.        For purposes of diversity jurisdiction, Defendant Partially Important is a citizen of

California.

       22.        This Court has personal jurisdiction over all Defendants.

       23.        Defendant Partially Important has expressly availed itself of conducting business

in New York.

       24.        Defendants published the defamation at issue from and in New York.

       25.        Each Defendant has significant general contacts with New York and this District.

       26.        Each Defendant’s contacts with New York and this District specifically gave rise

to the cause of action alleged herein.

       27.        Defendants each transact substantial business within New York, pursuant to

contracts to produce and publish Last Week Tonight, and that business resulted in the defamation

alleged herein.

       28.        Last Week Tonight is filmed and published at the CBS Broadcast Center in New

York, New York.

       29.        Defendants each have sufficient contacts with New York to reasonably foresee

defending a suit here and the exercise of jurisdiction over each Defendant comports with traditional

notions of fair play and substantial justice.



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         30.   A substantial part of the events giving rise to Dr. Morley’s claims occurred in this

District, including the writing, production, filming, and publication of the defamatory episode at

issue.

         31.   There exists complete diversity of citizenship between Plaintiff Morley and

Defendants.

         32.   The amount in controversy exceeds $75,000, exclusive of interest, costs, and

attorneys’ fees.

         33.   This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §

1332(a)(1).

         34.   Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(2)-(3), 1391(c)(1)-

(2), and 1391(d).

                                 FACTUAL BACKGROUND

                               Dr. Morley’s Work for an MCO

         35.   In 2017, Dr. Morley was working as a medical director for a Managed Care

Organization (MCO) named AmeriHealth Caritas.

         36.   AmeriHealth Caritas was contracted by the state of Iowa to manage its Medicaid

program.

         37.   As a medical director for AmeriHealth Caritas, Dr. Morley was responsible for

engaging in a second level review of requests for services by Medicaid recipients and/or their

medical providers and making determinations as to the medical necessity and appropriate level of

care pursuant to Medicaid’s standards.

         38.   As part of his role as medical director, Dr. Morley would occasionally testify in

administrative proceedings. As shown below, Defendants entirely snipped out of context and



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manipulated two sentences of Dr. Morley’s testimony in one such proceeding (the “Administrative

Hearing”) in order to accomplish their defamation.

       39.     Dr. Morley’s testimony itself, unadorned by Defendants’ manipulated context, was

incapable of the meaning ascribed to it by Defendants.

       40.     Dr. Morley’s testimony only became defamatory through the false, defamatory, and

manipulated context in which Defendants knowingly placed it.

                              Defendants’ Defamatory Accusations

       41.     On April 14, 2024, Defendants published an episode of Last Week Tonight titled

“Medicaid” (the “Episode”).

       42.     The Episode has since been republished via Last Week Tonight’s YouTube page,

garnering approximately 3.5 million views.

       43.     The Episode may be viewed at Medicaid: Last Week Tonight with John Oliver

(HBO) (https://www.youtube.com/watch?v=bVIsnOfNfCo) with the most pertinent excerpt being

from minute marker 19:30-23:15.

       44.     Throughout the Episode, Defendants generally attacked the efficacy of the

Medicaid system, including addressing alleged fraud and abuse against Medicaid, Medicaid’s

alleged failure to properly police large-scale Medicaid fraud while over-policing services provided

to and eligibility of individuals, Medicaid’s alleged deficient procedures through which individuals

unknowingly lose coverage, and Medicaid’s alleged general propensity to make absurd errors.

       45.     The Episode also addressed the alleged rise in the illegal denial of Medicaid

services by MCOs for the purposes of corporate profit and at the expense of medically necessary

patient care. It is that specific context in which Defendants defamed Dr. Morley.




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       46.     As the jumping off point for this discussion, Defendants expressly stated in the

Episode that “there was a nearly 900% increase in members being illegally denied services or care

and some of the cost cutting was absolutely enraging,” and then utilized two purported examples:

a young man named Louis along with video of Louis and Dr. Morley’s testimony.

       47.     By doing so and as further detailed below, Defendants conveyed their desired

defamatory meanings about Dr. Morley through both discrete statements and the juxtaposition of

several statements and visual cues.

       48.     The Episode contains the following statements of and concerning Dr. Morley:

               a.     Look, financial damage is one thing. But the most infuriating thing about
       MCOs is that, as with so many players in our for-profit healthcare system, they are
       incentivized to cut costs at the expense of necessary care. Because MCOs get paid a set
       monthly amount per person, meaning they get a fixed rate, so their profit is whatever they
       don’t spend on patients. And you can probably see where this is going.

              b.      In state after state, there’ve been heartbreaking stories of MCO’s denying
       care and prioritizing cost cutting over patients.

               c.      And just to focus on Iowa, it transitioned to using MCOs to run its Medicaid
       program in 2016, and in just its first three years, there was a nearly 900% increase in
       members being illegally denied services or care and some of the cost cutting was
       absolutely enraging. Like what happened with Louis [], who has cerebral palsy and was
       living with his mother. He needs a lot of care, which prior to the switch over, was provided
       by Medicaid. But once an MCO got involved, he lost a lot of what he’d been getting, starting
       with his medications.

               d.      [While showing Louis harnessed in a wheelchair from different media
       coverage]: “It was a nightmare. It was literally a nightmare. What am I gonna do, I can’t
       afford all that medication.” [Louis’s mother]. Also cut were his daily nurse visits, so for
       six weeks Louis went without the in-home bathing and diaper changing he’d had for
       years. “He wasn’t getting changed like he would normally get changed two or three times
       a day.” [Louis’s mother].

               e.     Look that’s [Louis’s situation] obviously maddening. And it doesn’t get any
       better when you hear a doctor at AmeriHealth, the CMO that took over in Iowa, explaining
       in a hearing about a similar patient, just what the corporate thinking was about the
       necessity of keeping people clean.




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               f.     [While showing “Dr. Brian Morley”, playing a snippet of his testimony, and
       showing a transcript]: “People have bowel movements every day where they don’t
       completely clean themselves, and we don’t fuss over [them] too much. People are allowed
       to be dirty … You know, I would allow him to be a little dirty for a couple of days.”

              g.      Screenshot of the script shown:




               h.      Look, I’ll be honest, when I first heard that, I thought that had to be taken
       out of context. There is no way a doctor, a licensed physician, would testify in a hearing
       that he thinks it’s okay if people have shit on them for days. So, we got the full hearing,
       and I’m not gonna play it for you, I’m just gonna tell you: he said it, he meant it, and it
       made me want to punch a hole in the wall.

               i.       [Again conveying that Dr. Morley was discussing either Louis or a similar
       patient]: And just watch what happens when Louis and his mom were told about what that
       doctor just said…. “I would spit in his face, to be honest. Yeah, right Louis, you like to be
       clean. I think it’s horrible. I don’t have words for that.”

              j.      And while, legally, I have to tell you, AmeriHealth eventually restored
       Louis’s service, it is a disgrace it was even a fight to begin with.

(Emphasis added to provide context clues about how each statement relates to one another and to

emphasize the most particularized statements giving rise to defamatory meanings). The above

statements are hereinafter referred to as the “False and Defamatory Statements.”




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       49.       The False and Defamatory Statements took place in a sequence of under three

minutes and twenty seconds and were, and reasonably would be, understood to be taken together.

       50.       The False and Defamatory statements, alone, do not place the defamatory

accusations in their appropriate context. Instead, Defendants utilized the juxtaposition of these

statements with various audio and video segments to convey their false and defamatory meanings,

including, without limitation, video of Louis harnessed in a wheelchair and Defendant Oliver’s

tone of voice.

       51.       The False and Defamatory Statements were intended to be understood in context,

including that each of the statements related to each other statement within the context of the

Episode.

       52.       Through the False and Defamatory Statements and the combination with those

statements of various video and audio segments, individually in context and collectively as a

whole, Defendants conveyed the false and defamatory meanings that (1) Dr. Morley illegally

denied care to Louis and/or the alleged “similar” individual subject of his testimony (the “Actual

Patient”) and (2) Dr. Morley testified that it is “okay” for individuals who wear diapers and/or

cannot bathe themselves “to have shit on them for days” and to otherwise be left sitting in their

own bowel movements for days (hereinafter referred to as the “False and Defamatory Meanings”).

       53.       Defendants intended to, and did, convey the False and Defamatory Meanings.

  Defendants’ Accusations are False and were Made Negligently and with Actual Malice

       54.       The False and Defamatory Meanings are each false.

       55.       As expressly stated by Defendant Oliver in the Episode, Defendants “got the full

hearing,” i.e., the Administrative Hearing, prior to publishing the Episode.




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       56.     In the Episode, Defendant Oliver otherwise conveyed that he reviewed the

Administrative Hearing, stating “I’ll be honest, when I first heard that, I thought that had to be

taken out of context…. So, we got the full hearing, and I’m not gonna play it for you, I’m just

gonna tell you: he said it, he meant it, and it made me want to punch a hole in the wall.”

       57.     According to correspondence from Defendants’ counsel, Defendant Partially

Important is “the producer of Last Week Tonight,” and “the producers of Last Week Tonight”

“obtained and reviewed an unabridged audio recording of the entire administrative hearing itself.” 1

       58.     A particular Senior News Producer for Last Week Tonight contacted Dr. Morley

shortly prior to airing the Episode.

       59.     Dr. Morley queried whether the Senior News Producer had reviewed the

Administrative Hearing, and the Producer responded in the affirmative.

       60.     Thus, Defendant Partially Important has admitted that an individual producer or

agent of Defendant Partially Important responsible for providing information about Dr. Morley for

publication obtained and reviewed the entire Administrative Hearing and therefore had the

knowledge and information alleged below, which reveals negligence, knowledge of falsity, and/or

a reckless disregard for the truth on behalf of the organization.

       61.     The Administrative Hearing spanned approximately three hours, and Dr. Morley’s

testimony spanned approximately one hour and fifteen minutes.




   1 All statements made herein concerning the Actual Patient are based upon the public records

provided to Dr. Morley’s counsel by Defendants (rather than any information independently
known to Dr. Morley and/or which was not contained in the records provided by Defendants) or
the already-anonymized court orders received by counsel in response to public records requests,
and all reasonable efforts have otherwise been made to anonymize the Actual Patient.
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           62.   Based upon the Administrative Hearing, Defendants knew that the medical

provider for the Actual Patient submitted a request to AmeriHealth Caritas to pre-approve 120 in-

home health aide visits during a 60-day period.

           63.   Based upon the Administrative Hearing, Defendants knew and disregarded that Dr.

Morley approved 50 home visits during the 60-day period but opined that the additional 70 visits

were not medically necessary and therefore not an appropriate taxpayer expense.

           64.   Based upon the Administrative Hearing, Defendants knew and disregarded that Dr.

Morley approved nearly 6 home visits per week when the MCO’s objective medical criteria called

InterQual utilized for identifying the appropriate level of care recommended 5 home visits every

two weeks. I.e., Dr. Morley approximately doubled the recommendation.

           65.   Based upon the Administrative Hearing, Defendants knew that the Actual Patient

did not testify in any fashion or personally appear during the hearing, that the Actual Patient’s

physician did not appear for the hearing, and that the Actual Patient’s regular home health aides

did not testify during the hearing.

           66.   Based upon the Administrative Hearing, Defendants knew and disregarded that the

hearing did not concern Louis or his treatment, plan of care, or the approval or denial of Medicaid

services to Louis.

           67.   Defendants otherwise had no basis with which to connect Dr. Morley and Louis.

           68.   Defendants knew, contradicted, and otherwise failed to disclose that neither Dr.

Morley’s testimony nor the Administrative Hearing was about Louis.

           69.   Based upon the Administrative Hearing, Defendants knew and disregarded that

Louis was in no sense material to their False and Defamatory Statements “similar” to the Actual

Patient.



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       70.     Defendants knew, contradicted, and otherwise failed to disclose that Louis was not

“similar” to the Actual Patient in any material sense.

       71.     Defendants portrayed Louis as a young man who had severe mental impairment,

who was harnessed in a wheelchair, who wore diapers, and who required in-home bathing and

diaper changing because he could do neither himself.

       72.     Based upon the Administrative Hearing, and the administrative court’s orders in

the Administrative Hearing, Defendants knew, contradicted, and otherwise failed to disclose that

that the Actual Patient was not confined to a wheelchair, was not incontinent, did not wear diapers,

independently toilet transferred, was independently mobile, could change his or her own clothes,

bathed him or herself, and did not require in-home diaper changing or assistance to bathe generally.

       73.     Based upon the Administrative Hearing, Defendants knew, contradicted, and

otherwise failed to disclose that, nonetheless, Dr. Morley approved nearly 6 in-home visits per

week to the Actual Patient.

       74.     Based upon the Administrative Hearing, Defendants knew, contradicted, and

otherwise failed to disclose that the Actual Patient worked outside of the home.

       75.     Based upon the Administrative Hearing, Defendants knew, contradicted, and

otherwise failed to disclose that Dr. Morley did not testify, at all, that it is “okay” or medically

appropriate for individuals wearing diapers or who are otherwise immobile “to have shit on them

for days.”

       76.     Based upon the Administrative Hearing, Defendants knew, contradicted, and

otherwise failed to disclose that Dr. Morley did not testify that it is “okay” or medically appropriate

for anyone to sit or lay in their own feces, for days at a time or otherwise.




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       77.        Based upon the Administrative Hearing, Defendants knew, contradicted, and

otherwise failed to disclose that Dr. Morley testified that for patients who are immobile, who need

transfer assistance, who are laying in their own feces or urine, who cannot bathe themselves, or

who have significant concomitant comorbidities, “you would want to have someone wiping them

and getting the feces off,” but that was not at issue in the “specific case” of the Actual Patient.

       78.        Based upon the Administrative Hearing, Defendants knew, contradicted, and

otherwise failed to disclose that the sole quote attributed to Dr. Morley was about a hypothetical

average person, who is independently mobile and can toilet transfer but who may not succeed in

completely removing all feces following a bowel movement.

       79.        In fact, in the very answer Defendants attributed to Dr. Morley, Defendants omitted

the following emphasized language, which itself referred back to immediately preceding testimony

on the subject:

       In certain cases, yes, with the patient with significant comorbidities, you would
       want to have someone wiping them and getting the feces off. But like I said,
       people have bowel movements every day where they don’t completely clean
       themselves and we don’t fuss over too much. People are allowed to be dirty. It’s
       when the dirty and the feces and the urine interfere with, you know, medical
       safety, like in someone who has concomitant comorbidities that you worry, but
       not in this specific case. I would allow him to be a little dirty for a couple days.

       80.        Based upon the Administrative Hearing, Defendants knew, contradicted, and

otherwise failed to disclose that in the above quote Dr. Morley was referring back to the testimony

he had given in response to the question immediately preceding this snippet—i.e. “like I said”—

wherein he explained that “a little dirty” was in reference to the average individual who is

independently mobile but may not wipe perfectly—not someone who is wearing diapers or

otherwise laying in their own bowel movements:

       There are likely people running, you know, walking around in society today that
       have, you know, bowel movements that aren’t clean and they have feces on their

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       skin for whatever reason, but they’re, you know, for the most part, they’re mobile
       and they’re not laying in it like someone who might be elderly, who’s immobile
       with concomitant medical problems like diabetes.

       81.     Based upon the Administrative Hearing, Defendants knew, contradicted, and

otherwise failed to disclose that in the sole quote attributed to him Dr. Morley was also referring

to testimony in which he explained that a “hypothetical” someone who is incontinent or immobile

(i.e., wearing diapers) would develop skin breakdown if feces were not promptly removed from

their skin but that would not be the case for the “hypothetical” person who is not incontinent and

is mobile:

       If feces were left on the skin for an extended period of time in someone that’s totally
       immobile, you can get significant skin breakdown. But if feces are left on the skin
       for several hours, or even a day, and the feces are removed the next day in someone
       that’s mobile and is not confined to a bed, then it would just be a matter of washing
       the feces off.

       82.     Had Defendants been honest about Dr. Morley’s testimony, the entire meaning and

gist of their segment on Dr. Morley would have changed—Dr. Morley was merely explaining that

it is medically necessary for people like Louis to have someone there to clean them and to receive

multiple in-home visits per day, while it is not medically necessary for people who do not wear

diapers, can toilet transfer independently, and are mobile to have two times a day visits for this

purpose.

       83.     Defendants knew, contradicted, and failed to disclose that Dr. Morley did not

illegally deny Medicaid services to Louis and/or the Actual Patient.

       84.     Defendants knew, contradicted, and failed to disclose that the ALJ and the

administrative agency, instead, each affirmed Dr. Morley’s determination of the appropriate

amount of Medicaid services to be provided to the Actual Patient.




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        85.    From the “audit” report Defendants’ relied upon, Defendants knew, contradicted,

and failed to disclose that the very “audit” report on which they relied for the assertion of an 891%

increase in the illegal denial of services or care itself defined Dr. Morley’s actions in the

Administrative Hearing as legal rather than illegal, including because “[s]eeing a denial affirmed

is always a good result, because it means a legally correct decision was made.”

        86.    Upon information and belief, Defendants scripted the Episode in advance, and the

Episode did not air live.

        87.    Upon information and belief, Defendants reviewed and approved the scripted

Episode in advance.

        88.    Last Week Tonight is not a live broadcast, and Defendants chose to film and edit

the Episode and thereafter air the False and Defamatory Statements and Meanings, despite their

knowledge of falsity and reckless disregard for the truth.

        89.    In respect of the Senior News Producer who contacted Dr. Morley, Dr. Morley

advised the Producer that he was willing to meet with the Producer and the Actual Patient to

explain his testimony.

        90.    The Producer refused to undertake this effort, stating that Last Week Tonight does

not do that.

        91.    To the extent Defendants failed to review the Administrative Hearing, or any

material part of it, prior to airing the Episode, Defendants published with actual malice in that they

purposefully avoided discovering the falsity of their False and Defamatory Statements and

Meanings, while otherwise claiming that they had reviewed it.

        92.    Based upon the Producer’s response to Dr. Morley pre-publication, Dr. Morley

additionally alleges that Defendants failed to check with another obvious source of information to



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ascertain the truth or falsity of their False and Defamatory Statements and Meanings—the Actual

Patient.

                                      Demand for Retraction

           93.    In October 2024, Dr. Morley demanded that Defendants retract their False and

Defamatory Statements.

           94.    In November 2024, Defendants refused to retract their False and Defamatory

Statements.

           95.    The Episode remains available on HBO’s Max platform and on Last Week

Tonight’s YouTube page.

                                   FIRST CAUSE OF ACTION:
                                        DEFAMATION

           96.    Morley incorporates by reference paragraphs 1 through 95 of this Complaint as

though set forth herein in their entirety.

           97.    Defendants participated in the publication of the Episode, through writing,

producing, editing, and/or airing the Episode.

           98.    Defendants published to the world, including to members of the public in this

District, via the Episode the False and Defamatory Statements and Meanings.

           99.    Defendants published the False and Defamatory Statements and Meanings to third

parties without privilege.

           100.   In the context of the Episode, the False and Defamatory Statements conveyed, and

Defendants intended to convey and were understood to convey, the False and Defamatory

Meanings, to wit: that (1) Dr. Morley illegally denied care to Louis and/or the alleged “similar”

Actual Patient and (2) Dr. Morley testified that it is “okay” for individuals who wear diapers and/or




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cannot bathe themselves “to have shit on them for days” and to otherwise be left sitting in their

own bowel movements for days.

       101.    The False and Defamatory Statements and Meanings are false.

       102.    The False and Defamatory Statements and Meanings are each of and concerning

Dr. Morley, including because his name was expressly included in the 3-4 minute segment of the

Episode at issue on multiple occasions.

       103.    Defendants published the False and Defamatory Statements and Meanings

negligently and with actual malice as set forth herein, including because:

               a. they knew from the Administrative Hearing that Dr. Morley was not testifying

                   about Louis;

               b. they knew from the Administrative Hearing that Dr. Morley was not testifying

                   about a “similar” patient in any material respect;

               c. they knew from the Administrative Hearing that Dr. Morley expressly

                   testified—including in the sole quote Defendants manipulated—that there are

                   circumstances not present in the Administrative Hearing for which a patient

                   would need someone present to wipe away feces to ensure medical safety;

               d. they knew from the Administrative Hearing that the Actual Patient was not

                   incontinent, did not wear diapers, independently toilet transfers, is

                   independently mobile, and had a job;

               e. they knew from the Administrative Proceeding that there was no illegal denial

                   of services or care, because Dr. Morley’s approval and partial denial of services

                   was affirmed;




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               f. they knew from their own “audit” report that the affirmance of Dr. Morley’s

                    approval and partial denial of services was explicitly defined as “legal” and

                    “always a good result because it means a legally correct decision was made”;

                    and

               g. Defendants nonetheless conveyed and published the False and Defamatory

                    Meanings, including that Dr. Morley illegally denied Medicaid services to

                    Louis and/or the Actual Patient and that Dr. Morley testified that patients in

                    diapers who cannot change or bathe themselves should be left in their own

                    bowel movements for days.

       104.    Defendants knowingly manipulated Dr. Morley’s testimony and then knowingly

manipulated the context in which they placed it such to convey the defamatory meaning.

       105.    Defendants additionally published the False and Defamatory Statements and

Meanings negligently and with actual malice because they manipulated the sole source quote

attributed to Dr. Morley to make it mean something it did not mean and otherwise manipulated the

evidence and context to make it seem condemnatory, when it was not.

       106.    To the extent Defendants possessed the Administrative Hearing and published the

False and Defamatory Statements and Meanings without reviewing it, Defendants engaged in the

purposeful avoidance of the truth.

       107.    Defendants additionally published the False and Defamatory Statements and

Meanings negligently and with actual malice because they purposefully ignored prior news

coverage of both the Actual Patient himself and of reports which make obvious that he was not

similar to Louis.




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       108.    Despite being confronted with the falsity of their Episode, Defendants have refused

to take any action to clarify the public record.

       109.    Defendants published the False and Defamatory Statements and Meanings with the

knowledge and intent of harming Dr. Morley.

       110.    The False and Defamatory Statements and Meanings are defamatory per se, in that

they ascribe to Dr. Morley conduct that adversely impacts his profession as a physician and

Physician Advisor and otherwise calls into question his ability to work in the healthcare industry.

       111.    Because the False and Defamatory Statements and Meanings are defamatory per

se, general damages to Dr. Morley are presumed as a matter of law.

       112.    The False and Defamatory Statements and Meanings proximately caused to Dr.

Morley significant actual reputational, emotional, and mental damages in an amount exceeding

$75,000 and to be determined at trial.

       113.    Dr. Morley has also suffered special damages, including by having to retain

cocunsel for the purpose of mitigating damages through the investigation of Defendants’ Episode,

search of the Internet for republications and other resulting statements on social media, and the

preparation and delivery of a retraction demand to Defendants.

       114.    Defendants knew, intended, and foresaw that their False and Defamatory

Statements and Meanings would be republished, including, without limitation, on various national

and international platforms and via their own YouTube page.

       115.    Defendants published the False and Defamatory Statements and Meanings with

common law malice, with the intent to injure and reckless disregard for the rights of Dr. Morley,

and Dr. Morley is entitled to an award of punitive damages to deter Defendants from repeating

such misconduct in the future.



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                                    PRAYER FOR RELIEF

       WHEREFORE, a judgment should be entered in favor of plaintiff Dr. Brian Morley, and

against Defendants, jointly and severally:

   a) Awarding Dr. Morley compensatory damages, in an amount to be determined and in

       excess of $75,000;

   b) Awarding Dr. Morley special damages in an amount to be determined;

   c) Awarding Dr. Morley punitive damages in an amount to be determined;

   d) Ordering Defendants to remove the False and Defamatory Statements from all platforms

       under their control, and permanently enjoining Defendants, and those acting in concert

       with them, from republishing the False and Defamatory Statements;

   e) Awarding Dr. Morley his recoverable costs and expenses, including attorney’s fees; and

   f) Granting Dr. Morley such other and further relief as the Court may deem just and proper.




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                                         JURY DEMAND

       Plaintiff demands a trial by jury as to all claims to which it is entitled. This request is

without prejudice to, or waiver of, Plaintiff’s right to move for judgment on all issues that may

be decided by the Court.



       Dated: March 27, 2025

                                           FIRESTONE GREENBERGER PLLC

                                           __/s/ Jordan Greenberger____
                                           Jordan Greenberger (JG-0316)
                                           14 Penn Plaza, 9th Floor
                                           New York, NY 10122
                                           212-597-2255
                                           jg@firegreenlaw.com


                                           WADE, GRUNBERG & WILSON, LLC

                                           /s/ G. Taylor Wilson
                                           Nicole Jennings Wade (pro hac vice forthcoming)
                                           nwade@wgwlawfirm.com
                                           Jonathan D. Grunberg (pro hac vice forthcoming)
                                           jgrunberg@wgwlawfirm.com
                                           G. Taylor Wilson (pro hac vice forthcoming)
                                           twilson@wgwlawfirm.com

                                           729 Piedmont Ave. NE
                                           Atlanta, Georgia 30308
                                           404-600-1153
                                           404-969-4333 (fax)

                                           Attorneys for Plaintiff Dr. Brian Morley




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